                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



 LESTER DeSHAZOR,

        Plaintiff,

        v.                                                  Civil Action No. PX 19-1123

 CO II CHARLES BARB, et al.,

        Defendants.




                                   SETTLEMENT ORDER
                                    (LOCAL RULE 111)


       This Court has been advised by the parties that the above action has been settled,

 including all counterclaims, cross-claims and third-party claims, if any. Accordingly, pursuant

 to Local Rule 111 it is ORDERED that:

       This action is hereby dismissed and each party is to bear its own costs unless otherwise

agreed, in which event the costs shall be adjusted between the parties in accordance with their

agreement. The entry of this Order is without prejudice to the right of a party to move for good

cause within seventy-five (75) days to reopen this action if settlement is not consummated.

If no party moves to reopen, the dismissal shall be with prejudice.




Dated: December 6, 2022                                             /S/
                                                     Paula Xinis
                                                     United States District Judge
